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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                              Chapter 11

    STEWARD HEALTH CARE SYSTEM LLC,                                     Case No. 24-90213 (CML)
    et al., 1

                                          Debtors.                      (Jointly Administered)


    THE COMMONWEALTH OF MASSACHUSETTS’ JOINDER IN THE EMERGENCY
      MOTION OF TRACO INTERNATIONAL GROUP S. DE R.L., AMONG OTHER
     THINGS, COMPELLING PAYMENT BY DEBTORS OF PREMIUMS DUE UNDER
                      INSURANCE POLICIES [ECF 3341]


             The Commonwealth of Massachusetts, by and through the Executive Office of Health and

Human Services of the Commonwealth of Massachusetts and the Attorney General of the

Commonwealth of Massachusetts (“Massachusetts” or the “Commonwealth”) files this Joinder

(the “Joinder”) to the Emergency Motion of TRACO International Group S. De R.L. (I)

Compelling Payment by Debtors of Premiums Due Under Insurance Policies; (II) Compelling

Payment of Prepetition Settlement and Defense Costs in Compliance with Previously Entered

Orders; (III) Compelling Assumption or Rejection of Insurance Policies; (IV) Lifting Automatic

Stay to Permit the Cancellation of Insurance Policies; (V) Compelling the Return of TRACO

Funds Held by the Debtors; and (VI) Granting Related Relief [ECF No. 3341] (the “TRACO

Motion to Compel”).

             On October 7, 2024, the Commonwealth filed its motion seeking entry of an order

compelling Steward to comply with its legal obligations to maintain workers’ compensation and


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      A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
      and noticing agent at https://restructuring.ra.kroll.com/Steward. The Debtors’ service address for these chapter
      11 cases is 1900 N. Pearl Street, Suite 2400, Dallas, Texas 75201.
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medical malpractice insurance coverage. [ECF No. 2806] (the “Commonwealth Motion to

Compel”). On October 28, 2024, Steward Health Care System LLC and its affiliated debtors

(collectively, “Steward” or the “Debtors”) filed their objection to the Commonwealth Motion to

Compel. [ECF No. 3051] (the “Objection”).

       Since the filing of the Objection, the Commonwealth and Steward have had discussions

concerning Steward’s insurance situation and both Steward and TRACO have provided limited

coverage-related information to the Commonwealth. Although Steward has procured a workers’

compensation insurance policy that covers only its remaining Massachusetts employees since

November 1, 2024, the medical malpractice insurance situation remains unresolved. Indeed,

TRACO’s motion confirms the Commonwealth’s concern that Steward’s post-petition reserves for

post-petition malpractice claims is insufficient.

       On or about December 2, 2024, TRACO filed the TRACO Motion to Compel seeking,

among other things, to compel the Debtors to pay pre- and post-petition premiums. If Steward

were to pay these premiums, it could go far to satisfying Steward’s malpractice coverage

obligations and minimize the negative impact of Steward’s failure to adequately reserve for post-

petition malpractice claims.

       Steward’s current financial position and the limited extension of the FILO DIP loan also

highlight that, unless set aside for the exclusive purpose of satisfying medical malpractice claims,

Steward’s voluntary reserves, if insufficient, may not be used for their stated purpose. Thus, in

addition to the relief requested by TRACO, the Court should require that these reserves and

payments to TRACO be isolated from the Debtor’s other assets and dedicated exclusively to

compensate victims of malpractice.




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                                         CONCLUSION

       The Commonwealth joins in the TRACO Motion to Compel and respectfully requests that

the Court (i) grant the relief sought in the TRACO Motion to Compel, (ii) order that all insurance

reserves and payments to TRACO be isolated from the Debtor’s other asserts and dedicated

exclusively to compensate victims of malpractice, and (iii) grant such other and further relief that

is just and proper.

Dated: February 11, 2025
       New York, New York
                                              Respectfully submitted,
                                              COMMONWEALTH OF MASSACHUSETTS,
                                              By its attorney,

                                              ANDREA JOY CAMPBELL
                                              ATTORNEY GENERAL

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                                  Certificate of Service
       I certify that on February 11, 2025, I caused a copy of the foregoing document to be
served via the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.
                                           /s/ Hugh M. McDonald
                                           Hugh M. McDonald




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